The Attorney General has received your request for an opinion with respect to the following question: "Who is the chief law enforcement official in a county ?" Title 19 sets out the following county offices; District Attorney, County Clerk, County Commissioners, County Coroner, Sheriff, County Surveyor, and County Treasurer. The District Attorney and the Sheriff are the only two offices which involve any law enforcement duties.  The duties of the Sheriff as set out in 19 O.S. 513 [19-513] and 19 O.S. 516 [19-516] (1971)are: 19 O.S. 513 [19-513]. Custody of jail. "The sheriff shall have the charge and custody of the jail of his county and all the prisoners in the same, and shall keep such jail himself, or by his deputy or jailer, for whose acts he and his sureties shall be liable." 19 O.S. 516 [19-516]. Duty and powers as peace officer.  "It shall be the duty of the Sheriff, Under-Sheriffs and deputies to keep and preserve the peace of their respective counties and to quiet and suppress all affrays, riots and unlawful assemblies and insurrections, for which purpose and for the service of process in civil and criminal cases and in approaching or securing any person for felony or breach of the peace, they and every constable may call to their aid such person or persons of their county as they may deem necessary." The duties of the District Attorney as set out in 19 O.S. 215.4 [19-215.4] and 19 O.S. 215.5 [19-215.5] (1971) are: 19 O.S. 215.4 [19-215.4] Duties.  "The District Attorney or his assistants shall appear in all trial courts and prosecute all actions for crime committed in his district, whether the venue is changed or not; and he shall prosecute or defend in all proceedings in which any county in his district is interested or a party. The District Attorney may, at all times, request the assistance of District Attorneys or Assistant District Attorneys from other districts who then may appear and assist in the prosecution of actions for crime in like manner as assistants in the district." 19 O.S. 215.5 [19-215.5] Advice to county officers.  "The District Attorney or his assistants shall give opinion and advice to the Board of County Commissioners and other civil officers of his counties when requested by such officers and boards, upon all matters in which any of the counties of his district are interested, or related to the duties of such boards or officers in which the state or counties may have an interest." By reason of the language of the statutes set out for each enforcement officer above, the answer to your question must be: There is no chief law enforcement official among the county officials. Both the District Attorney and the Sheriff of every county are to perform their duties which in turn will assist the other in the completion of his duties.  (CAROL ELAINE ALEXANDER) (ksg)